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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                                    4:08CR00352-7 JLH


ANDREW DEAN HUGHES

                                             ORDER

       Pending before the Court is Defendant’s Sealed Motion (docket entry #31) requesting

permission to waive his appearance for arraignment on the Superseding Indictment (docket entry

#23), and entry of a plea of not guilty. Pursuant to Rule 10(b) of the Federal Rules of Criminal

Procedure, Defendant and defense counsel have executed a waiver of appearance in which

Defendant affirms that he has received a copy of the Superseding Indictment, and requests entry of

a plea of not guilty. (Docket entry #31.)

       IT IS THEREFORE ORDERED THAT Defendant’s Sealed Motion Requesting Waiver of

Appearance (docket entry #31) is GRANTED. A plea of not guilty is hereby entered for Defendant.

       DATED this 20th day of April, 2009.



                                                    ____________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
